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                          DECLARATION OF MARCELINE WHITE, ECONOMIC ACTION


             I, Marceline White, declare as follows:


                 1. I am the Executive Director of Economic Action Maryland Fund (“Economic Action”).

             The statements made in this declaration are based on my personal knowledge.


                 2. Economic Action is a statewide nonprofit movement of individuals and organizations that

             advances economic inclusion and financial justice through research, advocacy, consumer

             education, and direct service.


                 3. We provide direct assistance to individuals in need today and fight for policies to change

             the system in the future. Our direct service programs support Maryland households struggling

             with housing, economic security, medical debt, and more.


                 4. For example, the Securing Older Adult Resources (SOAR) program is our initiative to

             ensure that older adults in Maryland have economic security. We help older adults to learn about

             and apply for available state tax credits, we provide financial coaching and counseling, and we

             do direct consumer education on financial exploitation, common scams, and digital literacy. We

             have used the Consumer Financial Protection Bureau’s educational materials to inform older

             adults about scams and encourage them to submit complaints to the CFPB.


                 5. Another big area of concern for us is medical debt. In 2020, 14% of Maryland residents

             reported having medical debt, and it can happen to anyone. It disproportionately impacts low-

             income communities and communities of color though. We provide resources to consumers to

             help them navigate medical debt. For example, our Guide to Medical Debt, which is available on



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             our website at https://econaction.org/wp-content/uploads/2024/10/Guide-to-Medical-Debt-

             FINAL.pdf, provides information to help people understand their options. One of the suggestions

             we recommend is that consumers who are the victims of illegal and abusive debt collection

             tactics file a complaint with the CFPB.


                 6. Economic Action is also committed to fair housing and we work to root out

             discrimination in housing and assist Maryland residents with resolving fair housing complaints.

             Our work in this area includes educating individuals and organizations about housing rights and

             taking fair housing complaints on behalf of those individuals and working to resolve them.


                 7. We have found that an important tool in helping people address the problems they

             encounter with financial scams, debt collection, medical debt, and in other financial issues is to

             submit complaints to the CFPB. Submitting a complaint online is a relatively quick and easy way

             that individuals can get answers from companies and get results.


                 8. If the CFPB complaint database were no longer available, our jobs would get a lot harder.

             We would lose an important tool for us and the people we serve to find solutions to their

             problems. Without the database, our counselors who work directly with consumers would need

             to devote more time and resources to get the same result. It’s a lot harder fighting with a bank or

             debt collector when you’re just an individual consumer. It’s easier when the company is

             receiving your complaint from a government agency, which is what happens after we submit

             complaints through the CFPB’s database.


                 9. The CFPB not only takes complaints, it makes public the ones that people want to share,

             in an anonymized and redacted format. We have found that this publication is an important and

             useful resource for multiple areas of our work, because it enables us to identify emerging

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             problems that can have serious consequences for consumers here in Maryland. Understanding

             those trends informs both our research, policy advocacy, and direct services. We use the

             complaint database to better understand issues that are particularly prevalent for Maryland

             consumers.


                 10. We don’t just rely on the CFPB’s complaint database to do our work, however. The

             CFPB provides lots of resources that simply aren’t available anywhere else.


                 11. One of those resources is the information and data about mortgage loans that CFPB

             collects and publishes under the Home Mortgage Disclosure Act. HMDA requires lenders to

             report loan-level information about mortgages and mortgage applications, which the CFPB then

             compiles, analyzes and publishes. That information in turn helps groups like us to understand

             trends in the mortgage market, including identifying potential fair lending issues or where

             lenders are just failing to meet the housing needs of their communities. We use that information

             to inform both our advocacy and our direct services work.


                 12. There is no replacement for CFPB’s HMDA database. No other source has such

             comprehensive or authoritative information about consumer mortgage lending. If the database

             were taken down or compromised in some way that we felt we could no longer rely on it, that

             would directly interfere with our ability to help borrowers and to advocate for fairer housing

             policies.


                 13. Like lots of nonprofits, we can’t afford to devote more resources in one area without

             taking them away from important work in another. If the CFPB were defunded and unable to

             continue to operate its complaint system, to make available information such as the HMDA data,

             and to provide its many consumer education resources, Economic Action would have no choice

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             but to either cut back on its existing work providing direct services to consumers or divert

             resources from other core parts of our mission.


                 14. That response would be necessary because assisting individual consumers with

             complaints would become more time-consuming without access to the CFPB’s complaint

             database. Operating with the same amount of staff hours, we would not be able to serve as many

             consumers, and even if we were to reduce staff time elsewhere to try to fill this need, our efforts

             would be less effective.


                 15. And that’s without even getting to the harms to our organization and, most importantly,

             to consumers that would be caused by losing such a vital enforcement agency that oversees so

             many laws that protect the people we serve. We’ve seen firsthand the benefits the CFPB can

             produce for people here in Maryland, including stopping illegal practices and getting money

             back into people’s pockets. I don’t think there’s any question that shutting down such an

             important agency is going to mean more scams, fraud, and abusive treatment of the kind we try

             to prevent and to help people deal with.


             I declare under penalty of perjury that the foregoing is true and correct.


             Executed on February 12, 2025, in Baltimore, MD.




                                                                           /s/
                                                                           Marceline White




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